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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    In re:                                                    §         Case No. 20-33274 (MI)
                                                              §
    LILIS ENERGY, INC., et al.,                               §         Chapter 11
                                                              §
                                                              §         (Jointly Administered)
              Debtors.1                                       §

                                THE DEBTORS’ WITNESS AND
                           EXHIBIT LIST FOR JUNE 29, 2020 HEARING

         The above-captioned debtors and debtors in possession (collectively, the “Debtors”), file

this Witness and Exhibit List for the hearing scheduled for June 29, 2020 at 4:30 p.m., Central

Time (or as such hearing may be continued or rescheduled, the “Hearing”).

                                                  WITNESSES

         The Debtors may call any of the following witnesses at the Hearing, whether by proffer,

by declaration, or through video or telephonic appearance, or any other means directed by the

Court:

         1.       Joseph C. Daches, Chief Executive Officer of Lilis Energy, Inc. (fact witness);

         2.       Gideon Lapson, Managing Director of Barclays Capital, Inc., proposed investment

                  banker for the Debtors (expert and fact witness);

         3.       Sheryl Betance, Managing Director of Stretto, proposed Claims Agent for the

                  Debtors;

         4.       Any witness called or listed by any other party;



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         The Debtors in these chapter 11 cases and the last four digits of their respective federal tax identification
         numbers are: Brushy Resources, Inc. (4053); Hurricane Resources LLC (5207); IMPETRO OPERATING
         LLC (9730); Impetro Resources, LLC (9608); Lilis Energy, Inc. (1613); and Lilis Operating Company, LLC
         (3908). The location of the Debtors’ U.S. corporate headquarters and the Debtors’ service address is: 201
         Main Street, Suite 700, Fort Worth, Texas 76102.



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               5.        Any witness necessary to lay the foundation for the admission of exhibits; and

               6.        Any rebuttal and/or impeachment witnesses.

                                                          EXHIBITS

                The Debtors may offer into evidence any one or more of the following exhibits at the

Hearing:




                                                                                           OBJECTION
                                                                                                       ADMITTED
                                                                                 OFFERED
    EXHIBIT




                                                                                                                  DATE
                                     DESCRIPTION                                                                         DISPOSITION

              A. Declaration of Joseph C. Daches in Support of
                 Chapter 11 Petitions and First Day Pleadings
                 (including all exhibits)2

              B. Declaration of Gideon Lapson in Support of the
                 Debtors’ Motion to Obtain Postpetition Debtor-
                 in-Possession Financing3

              C. Declaration of Sheryl Betance in Support of the
                 Emergency Application for Employment and
                 Retention of Stretto as Claims, Noticing, and
                 Solicitation Agent4

              D. DIP Credit Agreement (including all annexes,
                 exhibits, and schedules)5

              E. DIP Budget6


2
                Previously filed at Docket No. 30 and attached for reference hereto as Exhibit A.
3
                Previously filed at Docket No. 17 and attached hereto as Exhibit B.
4
                Previously filed at Docket No. 4 at pg. 25 and attached hereto as Exhibit C.
5
                Previously filed at Docket No. 5 at pg. 98 and attached for reference hereto as Exhibit D.
6
                Previously filed at Docket No. 5 at pg. 169 and attached hereto as Exhibit E.



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                                                                                             OBJECTION
                                                                                                         ADMITTED
                                                                                   OFFERED
    EXHIBIT




                                                                                                                    DATE
                                       DESCRIPTION                                                                         DISPOSITION

              F. Restructuring Support Agreement7

              G. Affidavit of Service

              H. Any motions, pleadings, or other documents
                 filed in these chapter 11 cases

              I.    Any exhibits needed to rebut the testimony of
                    witnesses or evidence presented by any other
                    party

              J. Any exhibit designated by any other party


                   In accordance with the Court’s March 9, 2020 Order Adopting Hearing Protocols That

May be Implemented Under Certain Public Health or Safety Conditions, all exhibits listed are

being filed as separate attachments to this Exhibit List.




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                   Previously filed at Docket No. 30 at pg. 78 and attached hereto as Exhibit F.



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       The Debtors reserve the right to supplement or amend this Witness and Exhibit List at any

time prior to the Hearing.

Dated: June 29, 2020
Houston, Texas                            /s/ Harry A. Perrin
                                           VINSON & ELKINS LLP
                                           Harry A. Perrin (TX 15796800)
                                           1001 Fannin Street, Suite 2500
                                           Houston, TX 77002-6760
                                           Tel: 713.758.2222
                                           Fax: 713.758.2346
                                           hperrin@velaw.com;

                                          - and -

                                          David S. Meyer (pro hac vice admission pending)
                                          George R. Howard (pro hac vice admission pending)
                                          Steven Zundell (pro hac vice admission pending)
                                          Michael A. Garza (pro hac vice admission pending)
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                                          PROPOSED ATTORNEYS FOR THE
                                          DEBTORS AND DEBTORS IN POSSESSION




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                                CERTIFICATE OF SERVICE

        I certify that on June 29, 2020, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                              /s/ Harry A. Perrin
                                             One of Counsel




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